Case 2:07-cv-01894-IPJ Document 1 Filed 10/18/07 Page 1 of 14            FILED
                                                                2007 Oct-18 PM 03:30
                                                                U.S. DISTRICT COURT
                                                                    N.D. OF ALABAMA
Case 2:07-cv-01894-IPJ Document 1 Filed 10/18/07 Page 2 of 14
Case 2:07-cv-01894-IPJ Document 1 Filed 10/18/07 Page 3 of 14
Case 2:07-cv-01894-IPJ Document 1 Filed 10/18/07 Page 4 of 14
Case 2:07-cv-01894-IPJ Document 1 Filed 10/18/07 Page 5 of 14
Case 2:07-cv-01894-IPJ Document 1 Filed 10/18/07 Page 6 of 14
Case 2:07-cv-01894-IPJ Document 1 Filed 10/18/07 Page 7 of 14
Case 2:07-cv-01894-IPJ Document 1 Filed 10/18/07 Page 8 of 14
Case 2:07-cv-01894-IPJ Document 1 Filed 10/18/07 Page 9 of 14
Case 2:07-cv-01894-IPJ Document 1 Filed 10/18/07 Page 10 of 14
Case 2:07-cv-01894-IPJ Document 1 Filed 10/18/07 Page 11 of 14
Case 2:07-cv-01894-IPJ Document 1 Filed 10/18/07 Page 12 of 14
Case 2:07-cv-01894-IPJ Document 1 Filed 10/18/07 Page 13 of 14
Case 2:07-cv-01894-IPJ Document 1 Filed 10/18/07 Page 14 of 14
